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                         EXHIBIT 23
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

    TQ DELTA, LLC,
                             Plaintiff,
                        v.
                                                CIV. A. NO. 2:21-CV-310-JRG
    COMMSCOPE HOLDING COMPANY, INC.,                  (Lead Case)
    COMMSCOPE          INC.,         ARRIS
    INTERNATIONAL      LIMITED,      ARRIS
    GLOBAL LTD., ARRIS US HOLDINGS, INC.,
    ARRIS   SOLUTIONS,      INC.,    ARRIS
    TECHNOLOGY,     INC.,     and    ARRIS
    ENTERPRISES, LLC,
                         Defendants.



    TQ DELTA, LLC,
                             Plaintiff,
                        v.
                                      CIV. A. NO. 2:21-CV-309-JRG
    NOKIA CORP., NOKIA SOLUTIONS AND        (Member Case)
    NETWORKS OY, and NOKIA OF AMERICA
    CORP.,
                       Defendants.


    NOKIA OF AMERICA CORP.,
                       Third-Party Plaintiff,
                    v.

    BROADCOM CORP., BROADCOM INC., and
    AVAGO               TECHNOLOGIES
    INTERNATIONAL SALES PTE. LTD.,
                      Third-Party
                      Defendants.


                       DECLARATION OF BRUCE MCNAIR
                      REGARDING CLAIM CONSTRUCTION
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  I.     INTRODUCTION

         1.      My name is Bruce McNair, and I have been retained as a technical expert by

  counsel for Defendants Nokia of America Corporation, Nokia Corporation, Nokia Solutions and

  Networks Oy (collectively, “Nokia”) and CommScope Holding Company, Inc., CommScope

  Inc., ARRIS US Holdings, Inc., ARRIS Solutions, Inc., ARRIS Technology, Inc., and ARRIS

  Enterprises, LLC (collectively, “CommScope”) (together, “Defendants”) to address certain

  issues concerning U.S. Patent No. 7,570,686 (the “Family 1 Patent,” or the “’686 Patent”), U.S.

  Patent No. 8,594,162 (the “’162 Patent”), U.S. Patent No. 10,567,112 (the “’112 Patent”), and

  U.S. Patent No. 8,462,835 (the “’835 Patent”) (collectively, the “Family 6 Patents”), whichhave

  been asserted by TQ Delta, LLC (“Plaintiff” or “TQ Delta”). Unless otherwise stated, the matters

  contained in this declaration are of my own personal knowledge and, if called as a witness, I

  could and would testify competently and truthfully with regard to the matters set forth herein.

         2.      My opinions are based on my years of education, research and experience, as well

  as my investigation and study of relevant materials. A list of materials considered is included in

  Appendix A to my declaration.

         3.      I may rely upon these materials, my knowledge and experience, and/or additional

  materials, documents, and information in forming any opinions in this Action, including but not

  limited to opinions to rebut arguments raised by Plaintiff. I reserve all rights that I may have to

  supplement this declaration if further information becomes available or if I am asked to consider

  additional information. Furthermore, I reserve all rights that I may have to consider and comment

  on any additional expert statements or testimony of Plaintiff’s experts in this matter.

         4.      My analysis of materials relevant to this Action is ongoing, and I may continue to

  review new material as it becomes available. This declaration represents only those opinions I



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  have formed to date. I reserve the right to revise, supplement, and/or amend my opinions stated

  herein based on new information and on my continuing analysis of the materials already

  provided. I also reserve the right to create exhibits to use in Court if called upon to testify.

         5.      I am being compensated at my usual consulting rate of $650 per hour for my time

  spent working on issues in this case. My compensation does not depend upon the outcome of this

  matter or the opinions I express.


  II.    QUALIFICATIONS

         6.      I have summarized in this section my educational background, industry

  experience, and other relevant qualifications. A true and accurate copy of my curriculum vitae is

  attached as Exhibit B to this declaration.

         A.      Education

         7.      I received my Bachelors of Engineering (Electrical) from Stevens Institute of

  Technology in 1971 and my Masters of Electrical Engineering from Stevens in 1974. I have

  taken numerous PhD-level courses in Electrical Engineering, Computer Engineering, and

  Computer Science at Stevens, as well.

         B.      Industry Experience

         8.      I was employed by the U.S. Army Electronics Command at Fort Monmouth, NJ,

  from 1971 to 1973 and 1974 to 1978 where I worked with voice, data, and wireless

  communications systems.

         9.      In 1973, I was employed by ITT Defense Communications Division in Nutley,

  NJ, where I designed digital hardware and computer software to investigate signal processing of

  speech signals and transmission of satellite communications signals using advanced forward

  error correction schemes.



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         10.     From 1978 to 2002, I was employed by AT&T Bell Laboratories and AT&T

  Laboratories at various New Jersey locations. My work there involved public data networks,

  high-speed digital communications over analog networks, speech processing, network security,

  and wireless communications. Several of my positions were closely associated with the subject

  matter of asserted patents. In particular, while I was in the Bell Labs Data Communications

  Laboratory in the early 1980s, I worked on high-speed analog modems using techniques that

  others in the organization later applied to DSL signaling. John Cioffi, one of the inventors of

  cited prior art, was one of the other members of the group I was in. Rich Gitlin, who was the

  supervisor of that group and later the head of the same department, is the recognized inventor of

  the initial concept of DSL technologies for the local telephone plant. Later in my AT&T/Bell

  Labs career (1994-2002) I investigated the use of Orthogonal Frequency Division Multiplexing

  (OFDM) for wireless communications.         OFDM forms the basis for DSL communications,

  although the characteristics of a wireless network environment make communications far more

  difficult than the relatively benign DSL environment. My research in OFDM for wireless

  applications included the use of interleaving, forward error correction, synchronization, and

  Reed-Solomon codes.

         C.      Publications

         11.     My list of publications is shown in my curriculum vitae, listed in Exhibit B, but I

  highlight a few that are closely related to the subject matter of the asserted patents: At VTC00, I

  presented results from an experimental implementation of OFDM in a wireless environment. I

  presented further results for this OFDM system at the Sarnoff Symposium in 2001. Seven more

  of my papers also relate to OFDM.

         D.      Prior Expert Testimony

         12.     A complete list of cases in which I have testified at trial, hearing, or by deposition


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  within the preceding five years is in Exhibit C to my declaration.

         13.     Based on my education and experience, I believe I am qualified to render the

  opinions set forth here.


  III.   SCOPE OF OPINIONS

         14.     I have been asked to provide opinions regarding the meaning of certain disputed

  claim terms as understood by one of ordinary skill at the time of the claimed inventions. My

  opinions are based on my understanding of the disputed claim terms and proposed construction

  and the evidence relied upon by the parties.


  IV.    LEGAL STANDARDS

         15.     Certain legal principles that relate to my opinions have been explained to me by

  counsel.

         16.     I understand that ultimately the Court will determine how specific terms shall be

  construed. The intent of this declaration is to help inform the Court how a person of ordinary

  skill in the art would have understood the meaning of certain disputed claim terms at the time of

  the claimed inventions in the context of the Asserted Patents’ claims, specifications, and

  prosecution histories in a manner that will assist the Court in the process of construing the

  claims. I understand that patent claims are generally given the meaning that the terms would

  have to a person of ordinary skill in the art in question as of the earliest claimed priority date. It

  is my understanding that a patentee can act as its own lexicographer by defining a term, in the

  patent specification, to have specific meaning. It is my understanding that statements made to the

  patent office by the patentee or its legal representative during prosecution can serve to

  illuminate, or possibly narrow the proper scope of claim terms, and that such statements must be

  considered when construing the claim terms. This is sometimes referred to as disclaimer. I have


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  taken into account these principles in my analysis.

         17.     I understand that a claim is indefinite if, when read in light of the specification

  and its prosecution history, the claim fails to inform, with reasonable certainty, those skilled in

  the art about the scope of the claimed invention.

         18.     I understand that a patent may include both independent and dependent claims. I

  understand that a claim in dependent form must contain reference to a claim previously set forth

  and then specify a further limitation of the subject matter claimed. A claim in dependent form

  must be construed to incorporate by reference all the limitations of the claim on which it

  depends.


  V.     BACKGROUND

         A.      The Family 1 Patent

         19.     I have been asked to provide opinions regarding the meaning of certain claim

  terms in the ’686 Patent.

         20.     The ’686 Patent is titled “Systems and Methods for Establishing a Diagnostic

  Transmission Mode and Communicating Over the Same.”

         21.     I understand that TQ Delta has asserted the following claims and priority dates:

  Patent                             Asserted Claims                  Asserted Priority Date
  ’686 Patent                        17, 18, 36, 37, 40               January 7, 2000, or, in the
                                                                      alternative, August 10, 2000,
                                                                      or, in the alternative, January
                                                                      8, 2001.

         22.     I have been asked to assume the applicability of the priority date for this patent as

  detailed above and have therefore analyzed the claim constructions and knowledge of one of

  ordinary skill for the patent as of those dates.

         23.     Digital Subscriber Line (DSL) is a technology that developed from research into



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  analog modems in the early 1980s. As signal processing technology advanced while refinements

  in communications theory and error correction coding allowed higher and higher transmission

  speeds, it was recognized that there were two fundamental limitations to being able to send

  information at high speeds: noise and bandwidth. Transmission bandwidth limits the rate at

  which signals can be modified (modulated) while allowing reliable detection of the transmitted

  signals. Noise limits the number of distinct signal levels that can be reliably transmitted while

  allowing the receiver to reliably determine which particular signal was sent in a certain time slot.

  As my colleagues and I in the Bell Labs Digital Communications Laboratory, John Cioffi among

  them, researched techniques to send information at higher data rates, we recognized that there

  was a fundamental limit to transmission in the local loop (the transmission line between the

  customer premises and the central office), while long distance transmission had a different set of

  restrictions. The study of DSL recognized that, if the limitations in the local loop could be

  separated from the issues in the long distance network, higher-speed, reliable communications

  were possible. If the short-distance transmission through the local loop could be conquered, the

  evolving high-speed long-distance digital network could carry the high-speed transmission the

  rest of the way to the destination.

         24.     By the late 1980s to early 1990s, key aspects of Discrete Multi-Tone (“DMT”)

  DSL had been developed by John Cioffi and his colleagues at Stanford and AT&T Bell Labs.

  Discrete multitone (DMT) had been deployed as a multi-carrier modulation scheme to allocate

  available spectrum for various DSL networks. The conventional DMT transceivers decompose

  the available frequencies/bandwidth into separate subchannels as specified by the recognized

  standards. This static infrastructure lead to an inefficient use of the available resources of the

  network when the transmitted traffic requires only part of the whole allocated spectrum. DMT




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  makes use of the available frequencies that can be transmitted on the telephone line and splits

  them into 256/512 equal sized frequency bins of 4.3125 kHz each. Sub-channels (or carrier bins)

  are where data bits are transmitted to and from our modem. Each sub-channel within a specific

  frequency range will be responsible for either upstream or downstream data.

         25.    By the time of the priority date of the Family 1 patents, multiple DSL standards

  had been developed and put into operation, including the T1.413-1995 and T1.413-1998 ADSL

  standards developed by the T1E1.4 committee of the American National Standards Institute

  (ANSI) and the ITU-T G.992.1 and G.992.3 ADSL and ADSL2 standards developed by

  SG15/Q4 of the ITU.

         26.    To enable a DSL service provider to monitor the health of an ongoing ADSL

  connection and troubleshoot issues, all of the ADSL standards in force as of the priority date of

  the ’686 patent specify mechanisms to retrieve, during Showtime, ADSL transceiver status

  information and performance monitoring parameters.

         27.    Specifically, each of the ADSL standards defines an embedded operations

  channel (EOC) to allow the ATU-C and ATU-R to communicate status information and

  performance monitoring parameters. T1.413-1995 at § 11.1; T1.413-1998 at § 8.1; G.992.1 at §

  9.1; G.992.2 at § 8.1. Using the EOC, the ATU-C can send commands to the ATU-R to read

  from data registers the ATU-R maintains to store status information or performance-monitoring

  parameters. T1.413-1995 at § 11.1.3; T1.413-1998 at § 8.1.3; G.992.1 at § 9.2.3; G.992.2 at §

  8.3.5. In response, the ATU-R sends the requested information using the EOC messaging

  protocol. T1.413-1995 at § 11.1.4.3.1; T1.413-1998 at § 8.1.5.3.1; G.992.1 at 9.2.5.3.1; G.992.2

  at § 8.4. The EOC messaging protocol includes substantial redundancy to ensure that commands

  from the ATU-C and responses from the ATU-R are received correctly. See, e.g., T1.413-1995 at




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  § 11.1.4.3.1 (ATU-R repeats transmissions until ATU-C has received three consecutive and

  identical frames); T1.413-1998 at § 8.1.5.3.1 (same); G.992.1 at § 9.2.5.3.1 (same); G.992.2 at §

  8.4.2.3 (same).

         28.        The ’686 patent discloses systems and methods for exchanging diagnostic and test

  information between transceivers over a digital subscriber line. ’686 patent at Abstract. FIG. 2 of

  the ’686 patent, copied below, is a flowchart outlining an exemplary method for communicating

  diagnostic information according to the ’686 patent. Id. at 3:12-15.




         29.        The diagnostic and test information can include information about specific

  limitations of the modems, information relating to the modem installation and deployment

  environment, or other diagnostic and test information that can be determined as needed to help to



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  determine the cause of a failure or problem. Id. at 2:35-50. The diagnostic and test information

  can also include information “that has been assembled during, for example, the normal ADSL

  initialization procedure.” Id. at 5:64-66. The ’686 patent provides examples of diagnostic and test

  information, including the following in Table 1:




         30.     The remote terminal (RT) can send a data message containing data variables to

  the central office (CO). Id. at 4:25-35. As used herein, the RT is located at a subscriber residence

  and is referred to elsewhere in the ’686 patent as an ATU-R, and the CO is located in a central

  location and is referred to as an ATU-C. The ’686 patent discloses three ways in which the RT

  may send the diagnostic and test information: (a) by using a one-bit-per-DMT-symbol message

  encoding scheme “as is used in the C-Rates1 message in the ITU and ANSI ADSL standards,”

  (b) by using “Differential Phase Shift Keying (DPSK) on a subset or all of the carriers, as

  specified in, for example, ITU standard G.994.1,” or (c) by using “higher order QAM

  modulation (>1 bit per carrier).” Id. at 3:50-53. These methods are used due to their robust nature

  and ability to be transmitted in the presence of large amounts of noise and other disturbances. Id.

  at 3:54-67.


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          31.     The ’686 patent discloses that diagnostic and test information can be exchanged

  by the ATU-C and ATU-R during the normal steady-state communications mode, and during a

  “diagnostic link mode” that can be used “if the ATU-C and/or ATU-R modem fail to complete

  an initialization sequence, and are thus unable to enter a normal steady state communications

  mode, where the diagnostic and test information would normally be exchanged.” Id. at 2:22-26.

  The diagnostic link mode allows the ATU-C and ATU-R to “exchange the diagnostic and test

  information that is, for example, used by a technician to determine the cause of a failure without

  the technician having to physically visit, i.e., a truckroll to, the remote site to collect data.” Id. at

  2:29-34. An asserted claim of the ’686 patent is claim 17, which recites:

                 An information storage media comprising instructions that when executed
          communicate diagnostic information over a communication channel using
          multicarrier modulation comprising:

                  instructions that when executed direct a transceiver to receive or transmit
          an initiate diagnostic mode message; and

                  instructions that when executed transmit a diagnostic message from the
          transceiver using multicarrier modulation, wherein the diagnostic message
          comprises a plurality of data variables representing the diagnostic information
          about the communication channel and each bit in the diagnostic message is
          mapped to at least one DMT symbol, and wherein one variable comprises an array
          representing frequency domain received idle channel noise information.

  Id. at Claim 17.

          B.      The Family 6 Patents

          32.     I have been asked to provide opinions regarding the meaning of certain claim

  terms in the Family 6 Patents.

          33.     The Family 6 Patents are titled “Impulse Noise Management.”

          34.     I understand that TQ Delta has asserted the following claims and priority dates:




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  Patent1                            Asserted Claims                  Asserted Priority Date
  ’162 Patent                        8, 9, 11                         January 7, 2000, or, in the
                                                                      alternative, August 10, 2000,
                                                                      or, in the alternative, January
                                                                      8, 2001.
  ’112 Patent                        8, 10, 11, 12, 14                March 3, 2004 or, in the
                                                                      alternative, March 24, 2004,
                                                                      or, in the alternative, March 3,
                                                                      2005, or in the alternative,
                                                                      April 28, 2010, or, in the
                                                                      alternative, June 11, 2003
  ’835 Patent                        8, 10, 24, 26                    March 3, 2004 or, in the
                                                                      alternative, March 24, 2004,
                                                                      or, in the alternative, March 3,
                                                                      2005, or in the alternative,
                                                                      April 28, 2010, or, in the
                                                                      alternative, June 11, 2003

         35.     I have been asked to assume the applicability of the priority dates for these patents

  as detailed above and have therefore analyzed the claim constructions and knowledge of one of

  ordinary skill for the patent as of those dates.

         36.     In forming the opinions set forth in this declaration, I have reviewed the asserted

  Family 6 Patents and their file histories.

         37.     The Family 6 Patents generally relate to impulse noise protection adaptation. ’162

  Patent at 1:23-24. The Family 6 Patents explain that “[c]ommunications systems often operate in

  environments that produce impulse noise. Impulse noise is a short-term burst of noise that is

  higher than the normal noise that typically exists in a communication channel.” ’162 Patent at

  1:29-32. For example, DSL systems may encounter impulse noise. ’162 Patent at 1:32-36.

  Impulse noise protection is managed through interleaving and Forward Error Correction (FEC),

  but as of the time of the Family 6 Patents, the “current xDSL procedure at least [did] not provide


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   The ’162 Patent is only asserted against Nokia. The ’835 Patent is only asserted against
  CommScope. The ’112 Patent is asserted against both Nokia and CommScope.



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  specific states to enable training for the selection of the appropriate interleaving and FEC

  parameters.” ’162 Patent at 1:42-46.

         38.     At the time of the Family 6 Patents, the “current technique” for selecting

  interleaving and FEC parameters “include[d] the steps of an operator . . . configuring the ADSL

  connection with a specific noise protection value, the ADSL connection [being] initialized and

  the transceivers enter[ing] into steady state data transmission (i.e., Showtime), and if the

  connection is stable, i.e., error-free, then the service is acceptable and the process ends.” ’162

  Patent at 2:41-47. But “if there are bit errors, then the process is repeated with the operator . . .

  configuring the ADSL connection with another specific INP value.” ’162 Patent at 2:47-49.

         39.     The Family 6 Patents describe that the system of the alleged invention can

  transition from one “FEC and Interleaving Parameter (FIP) setting” “to another FIP setting

  without going through the startup initialization procedure such as the startup initialization

  sequence utilized in traditional xDSL systems.” ’162 Patent at 3:30-44.

         40.     With respect to the background of the invention, I reserve the right to respond to

  TQ Delta’s expert’s description should a more detailed description of the background of the

  technology become necessary.



  VI.    LEVEL OF ORDINARY SKILL IN THE ART

         41.     I have been asked to offer my opinion regarding the level of ordinary skill in the

  art with respect to each of the Asserted Patents.

         42.     In my opinion, with regard to the ’686 patent, a person having ordinary skill in the

  art at the time of the alleged inventions of the Asserted Patents would have possessed a

  bachelor’s degree in electrical or computer engineering, or the equivalent, and at least 5–6 years

  of experience in telecommunications or a related field; a master’s degree in electrical or


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  computer engineering, or the equivalent, and at least 2–3 years of experience in

  telecommunications or a related field; or a Ph.D. in electrical or computer engineering, or the

  equivalent, with at least 1–2 years of experience in telecommunications or a related field. As of

  the time of the invention of the various patents through the present, I qualify as a person of

  ordinary skill in the art.


  VII.    DISPUTED CLAIM TERMS

          43.     I have been asked to provide opinions as to the terms and issues identified below

  and the claims associated with those terms.

          A.      Family 1 Patent

                  1.      “each bit in the diagnostic message is mapped to [at least one / one]
                          DMT symbol”

           Claim(s)           Plaintiff’s Position                  Defendants’ Position
         ’686 Patent,   Plain and ordinary meaning. No     Indefinite
         Claims 17,     construction necessary.
         36, 40


          44.     I understand that the parties dispute the construction of “each bit in the diagnostic

  message is mapped to [at least one / one] DMT symbol,” which is in the above-listed claims of

  the ’686 Patent. I understand that the Plaintiff contends that this term should be afforded its

  “[p]lain and ordinary meaning. No construction necessary.” Having considered the parties’

  positions, I agree with Defendants’ position.

          45.     This term is indefinite. Indeed, a person of ordinary skill in the art would not

  understand the meaning of the phrases “mapped” or “at least one” / “one” as used in the asserted

  limitation.

          46.     As an initial matter, the term “mapped” is a jargon term that would not provide a

  person of skill in the art with reasonable certainty as to what is intended by this phrase in the


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  context of the claim. Specifically, the term “mapped” could mean that the same bit value is

  represented by one symbol, two symbols, or every symbol that results from a given DMT signal.

  A person of skill in the art would understand that you have to define a mapping function with

  specificity in order to implement that particular function.

         47.     The specification contains a single description of the term “mapped.” The

  specification discloses “[i]n      the   one bit      per     DMT symbol modulation message

  encoding scheme, a bit with value 0 is mapped to the REVERB1 signal and a bit with a

  value of l mapped to a SEGUE1 signal.” ’686 patent at col. 3:54-57. But the language used in

  the specification references mapping to a particular signal, not a symbol, and provides no insight

  as to what it means to map a bit of the diagnostic message to a symbol.

         48.     Further, this disclosure of mapping does not tell us anything about mapping a bit

  of the diagnostic message. The REVERB1 and SEGUE1 signals are instead only relevant to the

  state of the communication protocol, and are not part of the diagnostic message.

         49.     Next, the phrases “at least one” and “one” are both indefinite as they are used in

  the claims. While “one” is clear, the term “at least one” allows for the scenario that a given bit is

  mapped to more than one DMT signal. As described below, the different possible interpretations

  tied to each version of the claim further adds to the indefinite nature of the term.

         50.     With respect to “at least one,” a person of ordinary skill in the art would not

  understand how a bit in a message could be “mapped” to more than one DMT symbol. Indeed, as

  described above, the discussion within the specification of the “one bit per DMT symbol

  modulation scheme,” ’686 patent at 3:54-67, does not disclose that any particular bit is mapped

  to more than one DMT symbol. The claim language would raise a number of questions in the

  mind of one of ordinary skill in the art. For example, a person of skill in the art may question 1)




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  whether there is some error coding used to map a bit into several redundant symbols, 2) whether

  the same bit is sent multiple times, once in each symbol, or 3) whether the claim language

  contemplates something else entirely.

         51.     With respect to “one,” were a person of ordinary skill in the art to, in the

  alternative, interpret “one DMT symbol” to refer to the transmission of a bit, they would not

  understand how a bit, when transmitted, is transmitted for only one DMT symbol period. A

  person of ordinary skill in the art would understand that a DMT symbol includes transmission at

  multiple frequencies. It is not clear how a bit of data would be mapped to all of the subcarriers of

  a symbol. Stated differently, the symbol could consist of multiple subcarriers and a person of

  ordinary skill would not know how and to which of the subcarriers the data is mapped.

         52.     A person having ordinary skill at the time of the alleged invention would have

  been familiar with and understood the G.992.1 Recommendation. G.992.1 consistently states that

  signals, including the initialization signals using REVERB1 and SEGUE1, span multiple DMT

  symbol periods—and requires that any signals that are limited in duration be expressly defined as

  limited in duration. For example, section 10.1.1 of G.992.1 states:

         The description of a signal will consist of three parts:

                                             ***

         The second is a statement of the required duration, expressed in DMT symbol
         periods, of the signal. This signal duration may be a constant or may depend upon
         the detected signaling state of the far-end transceiver. The duration of a single
         DMT symbol period depends on whether the cyclic prefix is being used; some
         initialization signals contain a cyclic prefix, and some do not. ATU-C signals up
         to and including C-SEGUE1 are transmitted without a cyclic prefix; those from
         C-RATES1 on are transmitted with a prefix. Similarly, ATU-R signals up to and
         including R-SEGUE1 do not use a prefix; those from R-REVERB3 onward do.
         The duration of any signal in seconds is therefore the defined number of DMT
         symbol periods times the duration of the DMT symbol being used.




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  ITU-T Recommendation G.992.1 at § 10.1.1 (emphasis added). Section 10.4.5 describes the

  signal C-REVERB1, which is transmitted by the ATU-C:

         C-REVERB1 is a signal that allows the ATU-C and ATU-R receiver to adjust its
         automatic gain control (AGC) to an appropriate level. . . . The duration of C-
         REVERB1 is 512 (repeating) symbols without cyclic prefix.

  G.992.1 at § 10.4.5 (emphasis added). Thus, the signal C-REVERB1 spans 512 DMT symbol

  periods. Section 10.5.2 describes the signal R-REVERB1, which is transmitted by the ATU-R:

         R-REVERB1 is a periodic signal, without cyclic prefix, that is transmitted
         consecutively for 4096 symbols.

  G.992.1 at § 10.5.2 (emphasis added). Thus, R-REVERB1 spans 4096 DMT symbol periods, not

  only a single symbol period.

         53.     Likewise, G.992.1 states explicitly that the SEGUE1 signal is never limited to one

  DMT symbol period. Section 10.6.1 states that “[t]he duration of C-SEGUE1 is 10 (repeating)

  symbol periods,” and section 10.7.1 states that “[t]he duration of R-SEGUE1 is 10-symbol

  periods,” which means that neither SEGUE1 signal is limited in time to a single DMT symbol

  period. See G.992.1, §§ 10.6.1, 10.7.1.

         54.     Furthermore, ’686 patent states that “the Average Reverb Signal contains the

  power levels per tone, up to, for example, 256 entries, detected during the ADSL Reverb signal.”

  ’686 patent at col. 4:31-33. As would have been recognized by a person having ordinary skill in

  the art at the time of the alleged invention, and as explained above, the ADSL REVERB signal

  has a duration that far exceeds the single DMT symbol period.

         55.     The claims use of both “at least one” and “one” in different independent claims of

  the ’686 patent further adds the ambiguity of what was intended by this claim term.

         56.     The prosecution history also does not provide any insight as to what is intended

  by the limitation “each bit in the diagnostic message is mapped to [at least one / one] DMT



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  symbol.” In an attempt to overcome the prior art, the patent owner simply added this language

  without any explanation as to its intended meaning. See ’686 File History, January 12, 2007

  Amendment and Remarks.

         57.    For these reasons, I am of the opinion that this claim limitation is indefinite.

         B.     Family 6 Patents

                1.     “FIP setting,” “FIP value,” and “interleaver parameter value”

                                            “FIP setting”
         Claim(s)          Plaintiff’s Position                 Defendants’ Position
       ’835 Patent, Plain and ordinary meaning. No forward error correction and interleaver
       Claims 8, 10, construction necessary.           parameters characterized by the set of
       24, 26                                          parameters for codeword size in bytes,
                                                       number of information bytes in a
       ’112 Patent,                                    codeword, number of parity or
       Claim 8                                         redundancy bytes in a codeword, and
                                                       interleaver depth in number of
                                                       codewords


                                            “FIP value”
         Claim(s)         Plaintiff’s Position                 Defendants’ Position
       ’835 Patent, Plain and ordinary meaning. No numerical value of codeword size in
       Claims 8, 24 construction necessary.           bytes, number of information bytes in a
                                                      codeword, number of parity or
                                                      redundancy bytes in a codeword, or
                                                      interleaver depth in number of
                                                      codewords


                                   “interleaver parameter value”
         Claim(s)          Plaintiff’s Position               Defendants’ Position
       ’835 Patent, Plain and ordinary meaning. No the numerical value of the interleaver
       Claims 10, 26 construction necessary.         depth in number of codewords

       ’162 Patent,
       Claim 8


  I understand that the parties dispute the constructions of “FIP setting,” “FIP value,” and

  “interleaver parameter value” which are in the above-listed claims of the Family 6 Patents. I


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  understand that the Plaintiff contends that these terms should be afforded their “[p]lain and

  ordinary meaning. No construction necessary.” It is my opinion that the terms “FIP setting,”

  “FIP value,” and “interleaver parameter value” were not terms of art at the time of the alleged

  invention and did not have a generally understood meaning.

         58.     The Family 6 Patents define the initialism “FIP” as “FEC and Interleaving

  Parameter.” ’162 Patent at 3:33-36. While a person of ordinary skill in the art would have

  generally understood that the processes of forward error correction encoding and interleaving are

  usually governed by certain parameters, a person of ordinary skill in the art would have been

  unfamiliar with the particular initialism “FIP” as used in the Family 6 Patents. For example, I

  had not seen the term “FIP” used to refer to FEC and interleaving parameters before I read the

  Family 6 Patents. Because the Family 6 Patents specially define the term “FIP,” a person of

  ordinary skill in the art would have understood the Family 6 Patents to be referring to particular

  FEC and interleaving parameters as explained in the Family 6 Patents.

         59.     A person of ordinary skill in the art would accordingly look to the specification of

  the Family 6 Patents to understand the scope of the terms “FIP setting,” “FIP value,” and

  “interleaver parameter value.” Although there may be many parameters relevant to the processes

  of FEC encoding and interleaving, the Family 6 Patents specify four particular parameters when

  discussing the “FIP settings” and “FIP values.” In particular, the Family 6 Patents describe the

  set of parameters as codeword size in bytes, number of information bytes in a codeword, number

  of parity or redundancy bytes in a codeword, and interleaver depth in number of codewords. See,

  e.g., ’162 Patent at 2:10-22, 3:33-49, 13:43-47.

         60.     A person of ordinary skill in the art would have further understood that there may

  be many potential “interleaver parameter values” and that there are many ways that one could




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  interleave a set of bits. A person of ordinary skill in the art therefore would not understand the

  term to generally have a well-defined meaning outside the context of the Family 6 Patents.

         61.     Accordingly, a person of ordinary skill in the art would have looked to the

  specification of the Family 6 patents to understand the term “interleaver parameter value.” A

  person of ordinary skill in the art would have then understood that, among the defined FIP

  values, the value relevant to an interleaver parameter value is a numerical value associated with

  interleaver depth, which as defined in the Family 6 Patents is “interleaver depth in number of

  codewords.” See, e.g., ’162 Patent at 2:10-22, 3:33-49, 13:43-47. The Family 6 Patents define no

  other units for interleaver depth other than codewords.

         62.     For these reasons, it is my opinion that “FIP setting,” “FIP value,” and

  “interleaver parameter value” were not terms of art at the time of the alleged invention and did

  not have generally understood meanings.




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         I declare under penalty of perjury that the foregoing is true and correct. Executed this 14th

  day of March, 2022.


                                                       Bruce McNair




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                                 APPENDIX A
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                               List of Materials Considered
        U.S. Patent No. 7,570,686
        U.S. Patent No. 8,594,162
        U.S. Patent No. 10,567,112
        U.S. Patent No. 8,462,835
        File History of U.S. Patent No. 7,570,686
        File History of U.S. Patent No. 8,594,162
        File History of U.S. Patent No. 10,567,112
        File History of U.S. Patent No. 8,462,835
        2002 McGraw-Hill Dictionary of Scientific and Technical Terms definition of “map” and
         “mapping”
        Wikipedia.com definition of “map”: This terminology is not completely fixed, as these
         terms are generally not formally defined, and can be considered to be jargon.
        Google definition of “mapped”: “associate (a group of elements or qualities) with an
         equivalent group, according to a particular formula or model”
        ITU-T G.993.2 VDSL2 Standard
        ITU-T G.992.1 ADSL Standard
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                                    Exhibit A
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  Bruce McNair                                            1 Iron Hill Drive
                                                          Holmdel, NJ 07733
                                                          bmcnair@novidesic.com
                                                          1-732-264-5244

         Career    • Fifty years engineering research, design, development, systems
       Summary       engineering experience in communications systems (including extensive
                     background in wireless communications and system/network security)
                   • Twenty four years as a well-rated member of one of world's most highly
                     respected R&D organizations, recognized for breadth, depth and
                     practicality of expertise
                   • Extensive experience teaching technical short courses for premiere
                     educational programs over a fourteen year period
                   • Full time university educator for fifteen years with experience teaching a
                     broad set of courses focusing on practical engineering approach
                   • On-line university educator for eighteen years teaching well-attended
                     graduate courses in wireless and security technologies

       Research    • High speed wireless data networking
       interests   • System/network security
                   • Geolocation technology
                   • Real-time digital signal processing
                   • Software-Defined Radio technology
                   • Broadband Powerline (BPL) technology

       Present     • Stevens Institute of Technology,
  Organizations    • Novidesic Communications, LLC

      Job Titles   • Distinguished Service Professor of Electrical and Computer Engineering
                   • Founder, Chief Technology Officer

      Education    • M.E., E.E., Stevens Institute of Technology, 1974
                   • B.E. (with Honor), Stevens Institute of Technology, 1971
                   • Completed qualifiers and course work for PhD in Computer Science at
                     Stevens
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       Relevant January 2003 – present – on-line teaching professor – Electrical and
     Experience Computer Engineering, Stevens Institute of Technology, Hoboken, NJ;
                Teach several well-enrolled on-line graduate courses in wireless security,
                information systems security and physical design of wireless communications
                systems.

                  August 2002 – December 2017 (retired) – Distinguished Service Professor of
                  Electrical and Computer Engineering, Program Director, Computer
                  Engineering graduate program, Stevens Institute of Technology, Hoboken,
                  NJ;
                  Design and manage the Senior Design Project, a two-semester program that
                  forms a substantial portion of the senior year in the engineering program.
                  This project comprises a large fraction of the seniors’ efforts and serves to
                  provide real-world engineering design experiences for the student. Teach a
                  large number of well-enrolled graduate and undergraduate core and elective
                  courses. Conduct research in wireless systems, geolocation services, and
                  broadband powerline (BPL) systems, particularly security needs and
                  solutions. Member of Stevens Intellectual Property Review Board, Stevens
                  Honor Board Advisory Council, Stevens’ Schaeffer School of Engineering
                  and Science Promotion and Tenure Committee, and the Senior Design
                  Coordinator Committee.

                  February 2002 – present – CTO, Novidesic Communications, LLC, Holmdel,
                  NJ;
                  Founded a technical consulting company, providing expert witness support
                  and testimony, telecommunications, wireless networking, security, software,
                  computing, product evaluation, proof-of-concept prototyping, and web site
                  design guidance to individuals and small businesses. Clients include health
                  care facilities, patent attorneys, major telecommunications providers, venture
                  capitalists, major component manufacturing company, start-up hardware and
                  concept development companies. Supported technology needs of small local
                  business leading to Phase I and Phase II SBIR funding in the area of RFID
                  with patented technology. Provide IP portfolio evaluation. Expert witness in
                  patent litigation with experience testifying at deposition and trial as well as
                  preparing USPTO IPR declarations.

                  August 2011 – February 2012 – Part-time consultant, Lockheed-Martin,
                  Moorestown, NJ;
                  Support development of advanced radar systems and interactions with other
                  wireless systems.

                  2010 – 2015 (part-time, on an as-needed basis) – Senior Systems Engineer
                  consultant, AT&T Government Solutions, Columbia, MD;
                  Support AT&T’s projects with the US Government customers on defense and
                  intelligence-related systems, drawing on previous knowledge and experience
                  in signal processing, wireless systems, telephone and computer networks,
                  and secure system design.
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       Relevant May 1994 to February 2002 (retired) -- Wireless Systems Research
     Experience Department, AT&T Bell Labs/ AT&T Labs - Research, Holmdel/Red
     (continued) Bank/Middletown, NJ
                 Member of Technical Staff/Research Staff Member/Principal Technical Staff
                 Member/Technology Consultant; Investigating high-speed, high-mobility
                 wireless data communications systems for untethered access to high speed
                 global networks. Proposed and investigated IEEE 802.11(a & b) physical
                 and MAC layer extensions to outdoor, high mobility environment. Efforts
                 involved system architecture, system control, real-time DSP programming in
                 C, high-speed hardware design, RF design, analog, RF interfacing,
                 Matlab/SIMULINK simulation and experimental investigations. Responsible
                 for complete design, implementation and characterization of a multiple
                 TMS320C40-based 384 kb/s OFDM transmission system and
                 definition/design of advanced signal processing platforms. Recent research
                 extended results to 5-40 Mb/s with TMS320C62/FPGA-based platform and
                 incorporated 802.11a and DVB-T technology. Previous research involved
                 speech quality/data rate enhancements to IS-136, the North American TDMA
                 cellular standard.

                  November 1987 to April 1994 -- Security and System Reliability Architecture
                  Group, AT&T Bell Labs, Holmdel, NJ
                  Technical Manager; Created, staffed, and led a group of security, systems
                  reliability and fraud control experts to assess security/quality of products,
                  services, operations systems, communications networks, operating systems,
                  and work centers and to recommend, specify, and prototype cost effective
                  improvements.       Created corporate process to build security into the
                  development process. Transformed small (2 person) corporate-funded
                  activity into well-staffed (multi million dollar), successful business unit
                  supported program. Served as security technologies subject matter expert
                  for AT&T Corporate Security and other (AT&T and outside) organizations

                  May 1982 to October 1987 -- various AT&T Bell Labs organizations, MTS -
                  Supervisor; System Design, Exploratory Development, Applied Research,
                  and Final Product Development of secure voice terminals, modems, speech
                  recognition and speaker verification systems, security chips, encryption
                  devices, and network management systems

                  June 1978 to April 1982 -- various AT&T Bell Labs organizations, Member of
                  Technical Staff, System design, digital hardware design and simulation of
                  wide area (X.25) data communications networks and high-speed data
                  transmission techniques for voiceband modems.           Led $1M IR&D secure
                  voice terminal initiative, ultimately resulting in promotion to MTS-Supervisor
                  and laying groundwork for AT&T's breakthrough success in NSA’s STU-3
                  program.
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        Relevant June 1971 to February 1973, January 1974 to June 1978 -- U.S Army
     Experience Communications R&D Command, Fort Monmouth, NJ. GS-7, 9, 11 & 12
     (continued) Electronic Engineer (GS-0855)
                 Development of tactical military radio communications equipment,
                 specializing in modulation, data transmission, communications security and
                 electronic warfare (frequency hopping and direct sequence spread spectrum)
                 for the SINCGARS VHF-FM radio system.

                  March 1973 to December 1973 -- ITT Defense Communications Division,
                  Nutley, NJ.
                  Junior Member of Technical Staff; Designed, developed and tested software
                  and digital hardware for portable satellite terminals for use by White House
                  and the world’s first hardware implementation of a 2400 bps Linear Predictive
                  Coder (LPC) secure speech transmission system.

       Patents,   Twenty six U.S. patents and nineteen international patents granted (several
  Presentations   pending) in areas such as data transmission, cryptographic techniques,
            and   speech processing, video processing, security systems, user authentication,
   Publications   fraud control, synchronization, dynamic channel assignment, localization
                  techniques, hazardous voltage detection, RFID, biomedical applications,
                  vibration energy harvesting, solar energy harvesting for portable devices, etc.

                  Presented numerous well-rated short courses in Digital Communications,
                  Digital Telephony, Digital Signal Processing, and Wireless Communications,
                  & Security. Course sponsors included: Bell Labs In-hours Continuing
                  Education Program, George Washington University, University of Maryland,
                  UCLA Extension, Johns Hopkins University – Organizational Effectiveness
                  Institute, Berlin (Germany) Continuing Engineering Education Program,
                  Monmouth University, and the Fort Monmouth Education Center.

                  Several papers presented at IEEE Vehicular Technology and other
                  Conferences and published in AT&T Technical Journal, IEEE Transactions
                  on Wireless Communications, and IEEE Communications Magazine on
                  various topics in wireless systems and security.
          Skills System/network architecture, communications system design, digital
                 hardware design, RF design, signal processing, real-time DSP programming,
                 software design and coding, proof-of-concept prototyping, designing and
                 conducting laboratory research experiments, OFDM, TDMA/IS-136, FPGA,
                 encryption, computer network security, threat assessment, data
                 communications protocols, computer architecture, digital and analog video
                 systems, system & link-level simulation, UNIX/Linux, Windows, C/C++,
                 Matlab/Simulink, MathCad, PASCAL, Algol, SNOBOL, Verilog, VHDL,
                 FORTRAN. Recruitment, development and management of highly effective
                 technical staff. Highly effective technical presentations and training sessions
                 to any level audience. Well-developed technical writing skills. Preparation,
                 deposition, and testifying regarding expert report for patent infringement/non-
                 infringement/validity/invalidity and other litigation matters. Assist in claim
                 construction and prior art research for patent litigation.
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           Other U.S Citizen. Held Top Secret - Sensitive Compartmented Information
     information (TS/SCI) clearance with full scope polygraph until October 2015.

                 Selected as one of twenty-six finalists among 490 entrants in the 2014 Bell
                 Labs Prize competition for proposal “High-precision, low-cost, low-power
                 indoor geolocation techniques.”

                 Stevens Institute of Technology, Henry Morton Distinguished Teaching
                 Professor, 2013-2014.

                 Named to New Jersey Inventors Hall of Fame, Inventor of the Year (2012) for
                 “Patented/Innovative Research and Entrepreneurial Leadership Related to:
                 Groundbreaking modem development and next generation wireless data
                 communications systems”

                 Mentored two AT&T Labs Fellowship Program (ALFP) participants, three
                 students in the MentorNet program, 5 Bell Labs Early Career Advisory
                 Program (ECAP) participants, numerous summer students (graduate and
                 undergraduate), several new employees, and all of the staff in groups I have
                 managed.

                 Advised a significant fraction of ECE Senior Design groups, numerous
                 graduate students; participation in thesis committees of several Stevens PhD
                 students in various departments, including Physics, Computer Science,
                 Mechanical Engineering, and ECE. Consult with non-ECE students on ECE
                 aspects of their Senior Design projects

                 Mentor summer students at Stevens in NSF-funded Research Experience for
                 Undergraduates (co-PI).

                 Stevens Institute of Technology, Schaefer School           of   Engineering,
                 Undergraduate Teaching Award, December 2006.

                 Life Senior Member, Institute of Electrical and Electronic Engineers -
                 Member of Communications, Signal Processing, Computer and Education
                 Societies

                 Member, American Society for Engineering Education

                 Secretary, IEEE     Communications     Society   Communications     Security
                 Committee

                 Identified by Rutberg & Co. Investment Bankers (San Francisco) as member
                 of a group of 213 “Top Wireless Influencers: 2002”

                 Member of the Council of Communications Advisors

                 Amateur radio operator licensed since 1963, Amateur Extra Class since 1970
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                                                                            9/21
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    US Patents    • “Liquid Crystal Display using the photovoltaic behavior of LED
                    backlights as a source of electrical energy.” US Patent
                    #10,310,326, June 4, 2019.
                  • “Method and apparatus for locating and distinguishing blood
                    vessel.” US Patent #8,764,663, July 1, 2014.
                  • “Secure IP access protocol framework and supporting network
                    architecture,” US Patent #8,046,577, October 25, 2011.
                  • “Method for Estimating Time and Frequency Offset in OFDM
                    Systems,” US Patent #7,990,839, August 2, 2011.
                  • “Simulcasting OFDM system having mobile station location
                    identification,” US Patent 7,962,162, June 14, 2011.
                  • “RFID Devices for Verification of Correctness, Reliability,
                    Functionality and Security,” US Patent 7,712,674, May 11, 2010.
                  • ““Dynamic Channel Assignment,” US Patent 7,457,259,
                    November 25, 2008.
                  • ““RFIDs Embedded into Semiconductors,” US Patent 7,348,887,
                    March 25, 2008.
                  • “Method for Estimating Time and Frequency Offset in OFDM
                    Systems,” US Patent #7,310,302, December 18, 2007.
                  • “Mobile Device Having Network Interface Selection,” US Patent
                    #7,180,876, February 20, 2007.
                  • "Dynamic Channel Assignment," US Patent #6,954,465,
                    October 11, 2005.
                  • “Method for Estimating Time and Frequency Offset in OFDM
                    Systems,” US Patent #6,891,792, May 10, 2005.
                  • "Security System Providing Lockout for Invalid Access Attempts,"
                    US Patent #5,559,505, September 24, 1996.
                  • "Telecommunications Fraud Detection Scheme," US Patent
                    #5,504,810, April 2, 1996.
                  • "Authenticator Card and System," US Patent #5,450,491,
                    September 12, 1995.
                  • "Secure Telecommunications," US Patent #5,392,357, February
                    21, 1995.
                  • "Data Message Storage and Pickup Service,” US Patent
                    #5,392,336, February 21, 1995.
                  • "System and Method for Granting Access to a Resource," US
                    Patent #5,375,244, December 20, 1994.
                  • "Secure Teleconferencing," US Patent #5,353,351, October 4,
                    1994.
                  • "Method and Apparatus for Processor Based Encryption," US
                    Patent #5,278,905, January 11, 1994.
                  • "Centralized Security Control System," US Patent # 5,276,444,
                    January 4, 1994.
                  • "Technique for Voice Based Security System," US Patent
                    #5,265,191, November 23, 1993.
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    US Patents      • "Video Scrambling System", US Patent # 5,206,906, April 27,
    (continued)       1993.
                    • "Cryptographic Transmission System," US Patent #4,642,424,
                      February 10, 1987.
                    • "Processing of Encrypted Voice Signals," US Patent #4,608,455,
                      August 26, 1986.
                    • "Control of Coefficient Drift for Fractionally Spaced Equalizers,"
                      US Patent #4,376,308, March 8, 1983

                   Several other published and unpublished US patents pending

   International    • “Voltage-controlled apparatus for battery-powered electronic
        Patents       devices,” EP Patent #0568237 B1, January 23, 2002.
                    • “A Dynamic Channel Assignment,” EP Patent #1,137,299,
                      September 26, 2001.
                    • “Data Message Storage and Pickup Service,” EP Patent
                      #0626776 B1, April 7, 1999.
                    • “Data Message Storage and Pickup,” Canadian Patent #CA-
                      2119227A1, February 24, 1998.
                    • “Centralized Security Control System,” Canadian Patent #CA-
                      2078077, January 27, 1998.
                    • “Improved centralized security control system and method,” EP
                      Patent #0534679. August 12, 1997.
                    • “Authenticator Card with Changing Bar Code Pattern,” EP Patent
                      #0,715,789, June 12, 1996.
                    • “Technique for voice-based security systems,” Canadian Patent
                      #CA-2072172, April 30, 1996.
                    • “Method and apparatus for user identification and verification of
                      data packets in a wireless communications network,” EP Patent
                      #0,689,316, December 27, 1995.
                    • “Central Difference Control System,” Japanese Patent #1995-
                      131526, May 19, 1995.
                    • “Authenticator Card with Changing Bar Code Pattern,” WO
                      Patent #1995/006371, March 2, 1995.
                    • “Method for safety system of voice base and device therefore,”
                      Japanese Patent #1995-049696, February 21, 1995.
                    • “Data message storage and pick up service, EP Patent
                      #0,626,776, November 30, 1994.
                    • “Method for safety system of voice base and device therefore,”
                      Japanese Patent #1995-049696, February 21, 1995.
                    • “Data message storage and pick up service, EP Patent
                      #0,626,776, November 30, 1994.
                    • “Apparatus for battery type electronic device,” Japanese Patent
                      #1994-138983, May 20, 1994.
                    • “Method and system for making communication via exchange
                      network available, method for providing,” Japanese Patent
                      #1994-085811, March 25, 1994.
Case 2:21-cv-00310-JRG Document 135-24 Filed 05/06/22 Page 35 of 47 PageID #: 4819




   International    • Voltage-controlled apparatus for battery-powered electronic
         Patent       devices,” EP Patent #0,568,237, November 3, 1993
    (continued)     • “Security node in switched telecommunication network”, EP
                      Patent #0,553,553, August 4,1993.
                    • “Improved centralized security control system and method,” EP
                      Patent 0,534,679, March 31, 1993.
                    • “An improved technique for voice-based security systems,” EP
                      Patent #0,533,396, March 24, 1993.
                    • “Cryptographic Transmission System,” Canadian Patent #CA-
                      1223932, July 7, 1987.

                   Several other published and non-published applications pending.

        Journal     • Leung,K., Clark,M.V., McNair,B., Kostic,Z., Cimini,L.J.,
   Publications       Winters,J.H., "Outdoor IEEE 802.11 Cellular Networks: Radio
                      and MAC Design and Their Performance", IEEE Transactions on
                      Vehicular Technology, Vol. 56, No. 5, pp. 2673-2684, September
                      2007.
                    • Chuang, J., Cimini, L., Li, G., Lin, L., McNair, B., Sollenberger,
                      N., Suzuki, M., Zhao, H., "High Speed wireless data access
                      based on combining EDGE with wideband OFDM," IEEE
                      Communication Magazine, November, 1999.
                    • D'Angelo, D.M., McNair, B., Wilkes, J.E., "Security in Electronic
                      Messaging Systems," AT&T Technical Journal, Volume 73,
                      Number 3, 1994.


      Research      • “Standalone/Networked Compact, Low Power, Image-fused
        awards        Multi-Spectrum Sensor System for Target Acquisition, Tracking
                      and Fire Control,” ARDEC, $2365000, co-PI with Victor
                      Lawrence, Hong Man. AY2008-2009
                    • NSF: “REU Site: Integrated Software Radio and Radio
                      Frequency Test Bed for Wireless Research in Dynamic
                      Spectrum Access”; $296,754; NSF; Co-PI with Yu-Dong Yao.
                      AY2004-2005
                    • AT&T Labs-Research Equipment donation of $900k DSP
                      systems and wireless test equipment. AY2003-2004
                    • AT&T Labs-Research - $60k grant for “Investigation of
                      Broadband Powerline technology” AY2003-2004

       Masters      • Xiongwei Xu, "The synchronization of IEEE 802.11A System",
        theses        May 2014.
    supervised      • Abdurazak Fathalla, "Security of Cloud Computing," May 2011.
                    • Tejas Marathe, “Comprehensive Performance Criteria for Wi-Fi
                      Location Systems,” December 2008.
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       Masters    • Milin Patel, “Network Performance Enhancement using QoS,
        theses      TCP Optimization, Application Acceleration and Dynamic
    supervised      Resource Allocation Techniques,” January 2008.
    (continued)   • Leo Gerard Raj, “Security in 4G Wireless Systems,” May 2005.

          PhD     • Chao Tian, “Realization of Pure AM/FM Modulation via
    committees      Combined Optical and Electrical Injection of Carriers in DFB
                    Laser,” Stevens Institute of Technology, Physics Department,
                    March 2015.
                  • Tao Yang, “All-optical frequency modulation of quantum cascade
                    laser and its application on infrared spectroscopy,” Stevens
                    Institute of Technology, Physics Department, May 2014.
                  • Fangming He, “Physical Security in Wireless Communications,”
                    Stevens Institute of Technology, Electrical and Computer
                    Engineering Department, May, 2012.
                  • Vinod Challa, “Vibration Energy Harvesting for Low Power and
                    Wireless Applications,” Stevens Institute of Technology,
                    Mechanical Engineering Department, May, 2011.
                  • Brian Borowski, “Application of Channel Estimation to
                    Underwater Acoustic Communication,” Stevens Institute of
                    Technology, Computer Science Department, June, 2010.
                  • Gang Chen, "All-Optical Modulation of Quantum
                    Structure/Devices," Stevens Institute of Technology, Physics
                    Department, May 2010.

    Conference    • He, F., Man, H., Kivanc, D., McNair, B., “EPSON: Enhanced
        Papers      Physical Security in OFDM Networks,” Proc. ICC 2009,
                    Dresden, Germany, June 2009.
                  • Patel, S.; Cimini Jr, L.J.; McNair, B., “Comparison of frequency
                    offset estimation techniques for burst OFDM,” Proc. IEEE
                    Vehicular Technology Conference VTC2002, Birmingham, AL,
                    May, 2002.
                  • Cimini, L., Leung, K., McNair, B., Winters, J. "Outdoor IEEE
                    802.11b Cellular Networks: MAC Protocol Design and
                    Performance," Proc. ICC 2002, New York, NY, April 2002
                  • Clark, M., Leung, K., McNair, B., Kostic, Z., "Outdoor IEEE
                    802.11b Cellular Networks: Radio Link Performance", Proc. ICC
                    2002, New York, NY, April 2002.
                  • McNair, B., “Software Radio – the Commercial Perspective,”
                    Proc. IEEE Sarnoff Symposium, Princeton, NJ, March 2002.
                  • Zou, H., Daneshard, B., McNair, B., "An Integrated OFDM
                    Receiver for High-Speed Mobile Data Communications," Proc.
                    IEEE Globecom 2001, San Antonio, TX, Oct. 2001.
                  • McNair, B., "Future Directions for Wireless Communications,"
                    Supercomm2001, Atlanta, GA, June, 2001
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    Conference     • Cimini, L., McNair, B, "OFDM for High Data Rate, High-Mobility,
        Papers       Wide-Area Wireless Communications," Proc. IEEE Sarnoff
    (continued)      Symposium, Princeton, NJ, March, 2001.
                   • Cimini, L., McNair, B, Sollenberger, N., "Implementation of an
                     Experimental 384 kb/s Radio Link for High-Speed Internet
                     Access," Proc. IEEE Vehicular Technology Conference
                     VTC2000, Boston, MA, September, 2000.
                   • Cimini, L., McNair, B, Sollenberger, N., "Performance of an
                     Experimental 384 kb/s 1900 MHz Radio Link In a Wide-Area
                     High-Mobility Environment," Proc. IEEE Vehicular Technology
                     Conference VTC2000, Boston, MA, September, 2000.
                   • Takamura, K.; Kunihiro, T.; Yamaura, T.; Fujita, E.; Anderson,
                     G.; Chibane, C.; Feinberg, P.; Sollenberger, N.; McNair, B.;
                     Mielcarek, E., “Field trial results of a band hopping OFDM
                     system,’ Proc. IEEE Vehicular Technology Conference VTC99-
                     Fall, 1999. Amsterdam, the Netherlands, September 1999.
                   • McNair, B., Cimini, L., Sollenberger, N., "A Robust Timing and
                     Frequency Offset Estimation Scheme for Orthogonal Frequency
                     Division Multiplexing (OFDM) Systems," Proc. IEEE Vehicular
                     Technology Conference, VTC99, Houston, TX, May 1999.
                   • McNair, B., Gupta, S., Kostic, Z., Sollenberger, N., "Experimental
                     Results for Extensions to the IS-136 TDM Standard Based on
                     Higher Level Modulation, Coherent Detection, and Equal Gain
                     Antenna Combining," Proc. IEEE Vehicular Technology
                     Conference, VTC99, Houston, TX, May 1999.
                   • Kostic, Z., McNair, B., Sollenberger N., "Experimental
                     Performance Results of an Indoor Wireless Extension of IS-136
                     Based on pi/8 D8PSK, Coded Modulation, and Antenna
                     Diversity," Proc. IEEE Vehicular Technology Conference,
                     VTC98, Ottawa, Canada, May 1998.
                   • McNair, B., "The Effectiveness of Preselection Diversity for
                     Indoor Wireless Systems," Proc. Int. Conf. on Universal Personal
                     Communications, San Diego, CA, Oct. 1997.

   Invited talks   • “Adventures in On-Line Education,” Tsinghua University
                     Webinar: Showcasing Online Course Designs, Online Teaching
                     Guidance Expert Group, International Center for Engineering
                     Educations (ICEE) – The United Nations Educational, Scientific
                     and Cultural Organization (UNESCO), April 27, 2020.
                   • “Providing Structure, Motivation and Process in Security
                     Education,” Stevens/NIKSUN Workshop on Innovations in Cyber
                     Security Research, Education and Training, Hoboken, NJ, March
                     2015
                   • “Wireless Security Panel,” IEEE/AFCEA Fort Monmouth Annual
                     Information Technology Forum and Expo, April 2005.
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   Invited talks   • “Of What Use is Wireless Multimedia Without Security,” “What’s
    (continued)      Next in Multimedia Panel,” 14th Annual Wireless and Optical
                     Communications Conference, April 2005.
                   • “Is Wireless Security an Oxymoron?” IEEE Princeton/Central NJ
                     Communications and Consumer Electronics and Computer
                     Science Chapters, December, 2003.

         Other     • McNair, B., “Automatic Repeater Offsets,” 73 Magazine,
   Publications      November 1978, pp. 82-86.
                   • McNair, B, Williman, G., “Digital Keyboard Entry System,” Ham
                     Radio, Volume 11, Number 9, September, 1978, pp. 92-97.
                   • McNair, B., “A Digital Display for Amateur Radio
                     Communications Equipment,” Ham Radio, Volume 9, Number 9,
                     September 1976, pp. 16-25.
                   • MIL-STD-188-114, “Electrical Characteristics of Digital Interface
                     Circuits,” Department of Defense Interface Standard, 24 March
                     1976

                   • Graduate:
                      - EE/CpE-517 - Digital and Computer Systems Architecture
                        (on-campus)
                      - EE/TM/NIS-584 – Wireless System Security (on-campus and
                        on-line)
                      - EE-585/PEP-685/MT-685 – Physical Design of Wireless
                        Communications (on-campus and on-line)
                      - NiS/CpE-691 – Information Systems Security (on-campus
                        and on-line)
                      - EE/CpE-810A - Special Topics in EE/CpE - Digital and
                        Computer Systems Architecture (on-campus)

                   • Undergraduate (on-campus):
                      - E-232 – Design IV
                      - BME-322 – Biomedical Design VI
                      - EE/CpE-322 – ECE Design VI
                      - EE/CpE-345 – Modeling and Simulation
                      - CpE-358/CS-381 –Switching Theory and Logical Design
                      - EE-359 – Electronic Circuits
                      - EE/CpE-423; EE/CpE-424 – Senior Design
                      - CpE-450 – Real-time Embedded Systems
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 Short Courses    • “Electronics and Computers,” preparation course for
                      Fundamentals of Engineering/Professional Engineering license
                      Stevens Institute of Technology
                  • "Digital Signal Processing - Principles, Architecture, and System
                      Applications"
                      - Organizational Effectiveness Institute (originally Johns
                        Hopkins University's continuing education program),
                  • "Wireless Digital Communications Systems: Components,
                      Specifications, Test and Evaluation"
                      - Organizational Effectiveness Institute
                  • "Security in Digital Communications Networks"
                      - Bell Labs Architecture Area Adopt a University Program:
                        Grambling State University
                      - Monmouth University
                  • “Digital Telephony"
                      - Monmouth University
                      - Fort Monmouth Education Center
                      - Berlin (F.R.G.) Continuing Engineering Education Program
                  • "Digital Communications & Applications"
                      - University of Maryland
                      - Fort Monmouth Education Center
                      - UCLA Extension University
                  • "Digital Communications," presented with Allen Gersho, N.S.
                      Jayant and David Falconer.
                      - George Washington University
                  • "Data Communications for the System Designer"
                      - Bell Labs In-Hours Continuing Education Program
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        Expert    • Authentication technology
      witness,    • Bluetooth, WiFi, ZigBee, and other local/personal area wireless
        patent        networking
    consulting    • Cellular systems
    experience    • Communications networking
                  • Digital clock control for power management in SoCs
                  • Digital Rights Management
                  • Digital Subscriber Loop (DSL) technology
                  • Electronic technology
                  • Embedded systems
                  • Geolocation technology
                  • Industrial process control software
                  • Localization services
                  • Messaging systems
                  • Multifactor Authentication
                  • Peer-to-peer and client-server networks
                  • Secure voice communications
                  • Signal processing
                  • Smart cards and magnetic stripe cards for payment systems
                  • Software/firmware code analysis (C, VHDL)
                  • Software trade secrets
                  • Television and television tuner technology
                  • Trusted systems
                  • User and system authentication technology
                  • Video messaging
                  • Video scrambling and pay-per-view systems
                  • Voice processing and voice response systems
                  • Wireless communications and networking – particularly PHY and
                      MAC layers
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     Law firms    • Avant Law, Overland Park, KS (Hissan Anis)
     supported    • Baker & McKenzie, Dallas, TX (William McSpadden)
                  • Bradley, Birmingham, AL (Paul Sykes, Benn Wilson, Jake
                     Gipson)
                  • Bragalone-Conroy, Dallas, TX (Nick Kliewer, Daniel Olejko,
                     Stephanie Wood)
                  • Cantor-Colburn, Hartford, CT (Steve Coyle)
                  • Carella-Byrne (Donald Ecklund)
                  • Clark-Hill, Pittsburgh, PA, (J. Alexander Hershey)
                  • Desmarias, New York, NY (Kerri-Ann Leembeck)
                  • DLA Piper, Austin, TX, San Francisco, CA and San Diego, CA
                     (Brian Erickson, Gerald Sekimura, Kevin Hamilton)
                  • Fox Rothschild, Lawrenceville, NJ (Gerard Norton)
                  • Gibbons-Deldeo, Newark, NJ (Michael Cukor, Sheila McShane,
                     Vin McGeary, Erich Falke, Chris Strate)
                  • Greenberg-Traurig, McLean, VA (Andrew Sommer)
                  • Hogan-Lovells, Denver, CO (Matt Rozier, Aaron Oakley, Lucky
                     Vidmar)
                  • Jones-Day, New York, NY (Tom Gianetti)
                  • Latimer, LLP, Oakhurst, NJ (Brian Latimer)
                  • Merchant-Gould, Atlanta, GA (George Jenson)
                  • Morrison-Foerster, San Diego, CA (Christian Andreau-von Eaw)
                  • Oblon Spivak, Arlington, VA (Robert Mattson, Scott McKeown)
                  • Orrick, Herrington and Sutcliffe, Silicon Valley (Jason Angell)
                  • Quattlebaum, Grooms, Tull & Burrow, Little Rock, AR (Steve
                     Quattlebaum)
                  • Quinn-Emanuel, New York, NY (Marc Kaplan)
                  • Ropes & Gray, Washington, DC, (Scott McKeown, Victor
                     Cheung)
                  • Sabety & Associates (Ted Sabety)
                  • Sidley Austin, Chicago, IL, Washington, D.C. (Doug Lewis, Rick
                     Cederoth, Mike Franzinger)
                  • Steptoe & Johnson, Washington, D.C. (Kate Cappaert, Brian
                     Johnson)
                  • Carr & Waddoups, Salt Lake City, UT (Trent Waddoups)
                  • Unified Patents, Washington, DC (Michelle Callaghan, Ashraf
                     Fawzy, Jung Hahm, Roshan Mansinghani, Jessica Marks,
                     Jordan Rossen, David Seastrunck)
                  • Wilson, Sonsini, Goodrich & Rosati, Palo Alto, CA, Seattle, WA
                     (Matthew Argenti, Quincy Lu)
                  • White Case, Washington, DC, New York, NY (David Tennant,
                     Grace Wang)
                  • Wisser and Weinstein, West Hartford, CT (Kerry Wisser)
                  • Woodcock and Washburn, Philadelphia, PA (Michael Bonella)
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                                    Exhibit B
                              Case 2:21-cv-00310-JRG Document 135-24 Filed 05/06/22 Page 43 of 47 PageID #: 4827
            Bruce McNair’s declarations, expert reports, depositions and testimony

Case                                                Technology         Supporting       Law firm           Attorney         Expert report/     Deposed        Testified
                                                                                                                             declaration
Avocent Redmond Corp., formerly known as          Keyboard-video-      Defendant     Gibbons-Deldeo,   Sheila McShane        Apr 3, 2005     Apr 5, 2005         No
Apex, Inc. v. Raritan Computer, Inc.; Case         monitor (KVM)                       Newark, NJ      Vincent McGeary
1:01-cv-04435-PKC, United States District        switching systems
Court, Southern District of New York.              - patent dispute
Marvell International, Ltd. v. Agere Systems,     Physical level of     Plaintiff        Orrick-          Jason Angell      Mar 16, 2007     Mar 24, 2007    Mar 27, 2007
Arbitration No. 50 133 T 00392 06, American          WiFi network                     Herrington,          Jan Ellard
Arbitration Association, International Centre     implementation -                   Silicon Valley,
for Dispute Resolution, NY, NY                      licensing issue                        CA
Cellularvision Technology &                       video messaging      Defendant          Baker-        Bill McSpadden       June 6, 2008    June 19, 2008       No
Telecommunications, L.P. v. Alltel                         in                          McKenzie,
Corporation, et. al., Case no. 07-CV-00444-        cellular/wireless                  Dallas, TX;
JMM, United States District Court, Eastern       networks - patent                                     Steve Quattlebaum
District of Arkansas, Western Division.                 dispute                       Quattlebaum-
                                                                                         Grooms,
                                                                                     Little Rock, AR
American Patent Development Corporation,              Network           Plaintiff        Sabety &         Ted Sabety        Dec 12, 2008     Feb 13, 2009        No
LLC v. Movielink, LLC, Civil Action 07-605-        distribution of                     Associates,                          Apr 17, 2009     May 1, 2009
JJF, United States District Court, District of   movies and video                    New York, NY
Delaware.                                          content; digital
                                                        rights
                                                   management -
                                                    patent dispute
Yangaroo,    Inc.   v.    Destiny    Media            Network          Defendant       Sabety &           Ted Sabety         Jan 15, 2010    Jan 29, 2010        No
Technologies, Inc., et. al., Case 1 :09-cv-        distribution of                    Associates,
00462-WCG, United States District Court,            music; digital                   New York, NY
Eastern Division of Wisconsin, Green Bay                rights
Division                                           management -
                                                    patent dispute
Inncom International, Inc. v. Control4           Intelligent HVAC       Plaintiff    Cantor-Colburn,       Bill Cass,       Mar 10, 2010          No             No
Corporation, Case 3:09-cv-00649, United          and room security                    Hartford, CT        Steve Coyle
States District Court, District of Connecticut    system - patent
                                                       dispute
Wes-Garde Components Group, Inc. v.               Electrical power      Plantiff      Weinstein &        Kerry Wisser        Jan 28, 2011    Sept 16, 2011       No
Carling Technologies, Inc, Case HHDCV09             switching and                       Wisser,
5028121S                                         control systems –                   West Hartford,
                                                   licensing issue                        CT
Motorola vs. Microsoft, ITC Investigation        Wireless networks     Respondent    Sidley Austin,     Douglas Lewis        July 1, 2011    July 29, 2011   Jan 12, 2012
337-TA-752 – “Regarding Certain Gaming and        - patent dispute                    Chicago, IL      Richard Cederoth     July 15, 2011
Entertainment Systems”                                                                                 Michael Franzinger
Avocent Redmond Corp. v. Raritan Americas,        Keyboard-video-      Defendant     Gibbons-Deldeo,   Vincent McGeary      Nov 28, 2011     Jan 27, 2012      Sept 25,
Inc., Case 10-CV-6100, United States District     monitor (KVM)                        Newark, NJ         Erich Falke        Jan 4, 2012                        2012
Court, Southern District of New York.            switching systems                                      Michael Cukor
                              Case 2:21-cv-00310-JRG Document 135-24 Filed 05/06/22 Page 44 of 47 PageID #: 4828
Case                                                Technology        Supporting     Law firm           Attorney         Expert report/     Deposed        Testified
                                                                                                                          declaration
                                                  - patent dispute                                  Christopher Strate
Eastman Kodak Company vs, Kyocera                 Digital camera      Defendant     Morrison &      Christian Andreau-   May 11, 2012     June 28, 2012       No
Corporation, Civil Action No. 10-cv-6334-            and cellular                     Foerster           von Eaw
CJS, Western District of New York                      handset                     San Diego, CA
                                                    technology –
                                                  licensing issue
USPTO IPR          Lone Star WiFi LLC vs.        Wireless networks    Petitioner   Oblon-Spivak      Scott McKeown        Oct 31, 2013         No             No
Starwood Hotels, Inc. Case # 612CV957,            with prioritized                 Arlington, VA
Eastern District of Texas                           access - IPR
USPTO IPR: Cisco vs. Rockstar Technologies           Multimedia       Petitioner   Oblon-Spivak       Chris Ricciuti     July 30, 2014         No             No
IPR2014-01220                                        distribution                  Arlington, VA
                                                 system with user
                                                    and network
                                                   controls - IPR
Cresta Technology Corp. vs. Silicon Labs:        Digital TV tuner     Respondent     DLA Piper       Brian Erickson      Aug 25, 2014     Sep 29, 2014    Dec 3, 2014
ITC Investigation 337-TA-910 – “Regarding          technology -                      Austin, TX;     Gerry Sekimura      Sep 16. 2014
Certain Television Sets”                           patent dispute                  San Francisco,    Kevin Hamilton
                                                                                   CA; San Diego,
                                                                                        CA
USPTO IPR:      Oticon vs. GN ReSound            Hearing assistance   Petitioner    Oblon-Spivak      Victor Cheung       Sept 9, 2014    July 21, 2015       No
IPR2015-00103 and IPR2015-00104                      devices with                  Arlington, VA     Scott McKeown
                                                   wireless access
                                                      via shared
                                                   earpiece cord -
                                                          IPR
Ericsson vs. Apple, 2:15-cv-290, Eastern         Location services    Defendant    Hogan-Lovells       Matt Rozier       Nov 11, 2015          No             No
District of Texas, Marshall Division.              - patent dispute                 Denver, CO
USPTO        IPR:       Sony     vs.  Cellular        Emergency       Petitioner       Oblon          Victor Cheung      Dec 18, 2015          No             No
Communications Equipment IPR2016-00367            wireless alerting                Arlington, VA     Scott McKeown
                                                     system - IPR
USPTO IPR: Alcatel-Lucent vs. Adaptix                Multi-carrier    Petitioner   Quinn Emanuel      Marc Kaplan        May 11, 2016          No             No
IPR2016-01030                                    (OFDM) wireless                     New York
                                                 communications -
                                                          IPR
USPTO IPR:       Securus Technologies vs.                User         Petitioner     Bragalone        Daniel Olejko      May 31, 2016          No             No
Global Tel*Link IPR2016-01115                     authentication in                   Conroy          Nick Kliewer
                                                 telecommunicatio                    Dallas, TX      Stephaine Wood
                                                   ns management
                                                     system - IPR
Process Control Corporation vs. Conair           Industrial process   Defendant       ClarkHill        J. Alexander      May 31, 2016     Aug 18, 2016        No
Group, Inc., and Alan Landers, Civil Action      control software -                Pittsburgh, PA         Hershey        June 30, 2016
No. 1:13-cv-04274-ELR (N.D. Ga.)                     trade secrets
                                                        dispute
USPTO IPR: Arris International vs. Sony                 Device        Respondent       Oblon          Victor Cheung       July 8, 2016         No             No
                              Case 2:21-cv-00310-JRG Document 135-24 Filed 05/06/22 Page 45 of 47 PageID #: 4829
Case                                                Technology         Supporting     Law firm         Attorney         Expert report/        Deposed        Testified
                                                                                                                         declaration
IPR2016-00827                                      authentication in                Arlington, VA    Scott McKeown
                                                     video control
                                                      system - IPR
USPTO Ex Parte reexam: Cornell Technical               CSMA and        Petitioner       Oblon         Victor Cheung      Feb 24, 2017           No              No
Licensing                                              multipacket                  Arlington, VA    Scott McKeown
                                                  reception wireless
                                                        systems
Straight Path IP Group, Inc v. Apple, Inc. Case   VoIP networking      Defendant    Hogan-Lovells     Matt Rozier       April 7, 2017       Apr 12, 2017        No
No. 3:16-cv-03582 Northern District of CA           - patent dispute                 Denver, CO      Aaron Oakley       Aug 31, 2017        Sep 28, 2017
                                                                                                     Lucky Vidmar       Sep 21, 2017
                                                                                                                        Oct 19, 2017
USPTO PGR: Supercell OY v. Gree, Inc.                 Digital and      Respondent    Ropes-Gray,      Victor Cheung    August 16, 2018          No              No
PGR2018-00064                                       microprocessor                  Washington, DC   Scott McKeown
                                                     devices - IPR
USPTO IPR: Unified Patents vs. Ambush                   Speech         Petitioner    Ropes-Gray,      Victor Cheung   December 27, 2018         No              No
Interactive IPR2019-00495                             processing,                   Washington, DC   Scott McKeown
                                                      embedded
                                                   systems, remote
                                                     control - IPR
USPTO IPR: Unified Patents vs. Universal              Encryption       Petitioner    Ropes-Gray,      Victor Cheung   December 30, 2018         No              No
Cipher IPR2019-00498                                techniques for                  Washington, DC   Scott McKeown
                                                       password
                                                   authentication -
                                                          IPR
USPTO IPR: Unified Patents vs. Portal                Web-enabled       Petitioner    Ropes-Gray,      Victor Cheung   December 31, 2018         No              No
Communications IPR2019-00513                      speech processing                 Washington, DC   Scott McKeown
                                                     and location
                                                    services - IPR
Broadcom vs. Renesas, et. al., ITC                 Clock control in    Petitioner     Steptoe &      Kate Cappaert     March 4, 2019       March 27, 2019   June 3, 2019
Investigation 337-TA-1119 – “Regarding              SoCs - patent                      Johnson,      Brian Johnson     March 19, 2019                       June 6, 2019
Certain Infotainment Systems”                           dispute                     Washington, DC
USPTO IPR: Square Inc. vs. Anywhere                 Smart card and     Petitioner    Ropes-Gray,      Victor Cheung   September 30, 2019        No              No
Commerce/4361423 Canada, Inc. IPR2019-              magnetic stripe                 Washington, DC   Scott McKeown    September 30, 2019
01625, IPR2019-01626, IPR2019-01627,                  reader and                                                      September 30 2019
IPR2019-01628, IPR2019-01629, IPR2019-              processing for                                                    September 30, 2019
01630                                             financial payment                                                   September 30 2019
                                                    systems - IPR                                                     September 30 2019
                                                                                                                       October 14, 2020
                                                                                                                       October 14, 2020
                                                                                                                       October 14, 2020

IPR2019-01649, IPR2019-01650                                                         White-Case,     David Tennant    September 30, 2019
                                                                                    New York, NY      Grace Wang      September 30, 2019
                                                                                                                       October 14, 2020
                             Case 2:21-cv-00310-JRG Document 135-24 Filed 05/06/22 Page 46 of 47 PageID #: 4830
Case                                            Technology         Supporting      Law firm            Attorney           Expert report/       Deposed      Testified
                                                                                                                           declaration
                                                                                                                         October 14, 2020
USPTO IPR Unified Patents vs. Honeyman       Software tamper       Petitioner   Unified Patents,    Ashraf Fawzy        December 13, 2019        No            No
Cipher Solutions. IPR2020-00213                prevention and                   Washington, DC     David Seastrunck
                                                detection via
                                             encryption - IPR
Michalski vs. Michalski, Monmouth County     Cell phone usage,     Defendant     Latimer, LLP        Brian Latimer      December 15, 2019        No            No
Court (NJ), FM-13-1543-16-C                     geolocation,                     Oakhurst, NJ
                                              propagation and
                                              characteristics –
                                               civil litigation
USPTO IPR: Unified Patents vs. Universal         Encryption        Petitioner    Unified Patents      Jung Hahm          January 20, 2020        No            No
Cipher IPR2019-00498                           techniques for                                           Roshan
                                                  password                                            Mansinghani
                                              authentication -
                                                     IPR
USPTO IPR Renesas vs. Broadcom, IPR2019-     Clock control in      Respondant      Steptoe &         Brian Johnson       February 7, 2020    May 28, 2020      No
01039                                            SoCs - IPR                         Johnson,                                                   (virtual)
                                                                                Washington DC
TQ Delta vs. ADTRAN, Case 14-cv-954-RGA       DSL signaling        Defendant        Bradley          Benn Wilson        February 28, 2020   May 22, 2020       No
& 15-cv-121-RGA, District of Delaware         and control -                     Birmingham, AL                           April 10, 2020        (virtual)
                                              patent dispute                                                             April 24, 2020      Dec 22, 2020
                                                                                                                          Sep 23, 2020         (virtual)
                                                                                                                        October 23, 2020
                                                                                                                          Nov 6. 2020
                                                                                                                        February 26, 2021
USPTO IPR: Unified Patents vs. Portal           Web-enabled        Petitioner   Unified Patents,     Jessica Marks        April 8, 2020          No            No
Communications IPR2019-00513                 speech processing                  Washington, DC          Roshan
                                                 and location                                        Mansinghani
                                                services - IPR
USPTO IPR: Unified Patents vs. Optima            Multifactor       Petitioner    Greenberg-         Andrew Sommer         April 10, 2020         No            No
Direct IPR2020-00784                           authentication -                    Traurig
                                                      IPR                        McLean, VA
USPTO IPR Unified Patents vs. Voice Tech,       Mobile voice       Petitioner   Unified Patents     Jordan Rossen          June 5, 2020          No            No
IPR2020-01018                                     control of                    Washington, DC     Michelle Callaghan     June 28, 2021
                                                  computer
                                              application - IPR
Call vs. Chakra Lounge, RMB, Inc., Wasted       Geolocation –      Defendant         Carr &         Trent Waddoups       August 17, 2020         No            No
Space, LLC, Shaman, Inc., C.H.U. Holdings,      civil litigation                   Waddoups
and Corbin Celotto, Case 190900552, Third                                        Salt Lake City,
Judicial District Court for Salt Lake City                                             UT
County, Utah
USPTO IPR Mycroft vs. Voice Tech,              Mobile voice        Petitioner     Avant Law,          Hissan Anis       October 1, 2020          No            No
IPR2020-01739                                   control of                       Overland Park,                         October 20, 2021
                                                computer                              KS
                            Case 2:21-cv-00310-JRG Document 135-24 Filed 05/06/22 Page 47 of 47 PageID #: 4831
Case                                             Technology        Supporting         Law firm                 Attorney          Expert report/       Deposed      Testified
                                                                                                                                  declaration
                                               application - IPR
USPTO IPR Unified Patents vs. Karetek,            Multifactor        Petitioner    Wilson, Sonsini,     Matthew Argenti         October 1, 2020         No            No
IPR2020-01550                                   authentication -                   Goodrich, Rosati       Quincy Lu
                                                     IPR                            Palo Alto, CA
                                                                                     Seattle, WA

Cellcast vs. USDoJ/IBM, Case 15-1307, US        Emergency           Defendant       Goodwin, NY,           Mark Abate          September 14, 2021   Nov 12, 2021      No
Court of Federal Claims                       Alerting Systems                          NY              Alexandra Valenti                             (virtual)
                                                                                                        Calvin Wingfield
                                                                                                       Jaqueline Genovese
                                                                                                              Bova
                                                                                      US DoJ,
                                                                                   Washington, DC        Philip Sternhell
USPTO IPR Unified Patents vs. Liberty Peak         Financial         Petitioner    Unified Patents,      Michelle Aspen         October 21, 2021        No            No
Ventures, IPR2022-0024                            transaction                      Washington, DC
                                                security/RFID


                                   As of 11/12/2021                                    On behalf of                   On behalf of
                                                                   Total    Plaintiff/Complainant/Petitioner      Defendant/Respondant
                                   Expert reports/declarations      70                     39                              31
                                   IPR/USPTO declarations           37                     34                               3
                                   Depositions                      20                      6                              14
                                   Testimony                         6                      3                               3
